

Matter of Attorneys in Violation of Judiciary Law § 468-a. (Lee) (2024 NY Slip Op 01148)





Matter of Attorneys in Violation of Judiciary Law § 468-a. (Lee)


2024 NY Slip Op 01148


Decided on February 29, 2024


Appellate Division, Third Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered:February 29, 2024

PM-23-24
[*1]In the Matter of Attorneys in Violation of Judiciary Law § 468-a. Attorney Grievance Committee for the Third Judicial Department, Petitioner; Peter Seung-K Wang Lee, Respondent. (Attorney Registration No. 4310801)

Calendar Date:February 5, 2024 

Before:Egan Jr., J.P., Pritzker, Lynch, Reynolds Fitzgerald and Mackey, JJ., concur

Monica A. Duffy, Attorney Grievance Committee for the Third Judicial Department, Albany (Alison M. Coan of counsel), for Attorney Grievance Committee for the Third Judicial Department.
Peter Seung-K wang Lee, Washington, DC, respondent pro se.



Motion by respondent for an order reinstating him to the practice of law following his suspension by May 2019 order of this Court (Matter of Attorneys in Violation of Judiciary Law § 468-a, 172 AD3d 1706, 1736 [3d Dept 2019]; see Rules for Atty Disciplinary Matters [22 NYCRR] § 1240.16; Rules of App Div, 3d Dept [22 NYCRR] § 806.16).
Upon reading respondent's notice of motion and affidavit with exhibits sworn to November 8, 2023 and the February 2, 2024 responsive correspondence from the Attorney Grievance Committee for the Third Judicial Department, and having determined, by clear and convincing evidence, that (1) respondent has complied with the order of suspension and the rules of this Court, (2) respondent has the requisite character and fitness to practice law, and (3) it would be in the public interest to reinstate respondent to the practice of law (see Rules for Atty Disciplinary Matters [22 NYCRR] § 1240.16 [a]),[FN1] it is
ORDERED that respondent's motion for reinstatement is granted; and it is further
ORDERED that respondent is reinstated as an attorney and counselor-at-law, effective immediately.
Egan Jr., J.P., Pritzker, Lynch, Reynolds Fitzgerald and Mackey, JJ., concur.



Footnotes

Footnote 1: In light of respondent's provision of proof of his satisfactory passage of the Multistate Professional Responsibility Exam, among other things, we excuse his noncompliance with Rules of the Appellate Division, Third Department (22 NYCRR) § 806.16 (c) (5) (see Matter of Attorneys in Violation of Judiciary Law § 468-a [Tabibzadegan], 215 AD3d 1164, 1166 [3d Dept 2023]). 






